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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

IN RE:
CARL EDWARD MORELLI

                                           CASE NO. 6:18-bk-02644-KSJ
                                           CHAPTER 7
      Debtor(s).
_________________________________/

                                      PROOF OF SERVICE

       I HEREBY CERTIFY THAT a true and correct copy of the foregoing Order Granting Motion
for Relief from Stay [DE-43] was furnished on November 28, 2018, by U.S. Mail and/or electronic
mail via CM/ECF to:

JUSTIN R INFURNA
121 SOUTH ORANGE AVE STE.1500
ORLANDO, FL 32801

MARIE E. HENKEL, TRUSTEE
3560 SOUTH MAGNOLIA AVENUE
ORLANDO, FL 32806

UNITED STATES TRUSTEE - ORL7/13
GEORGE C. YOUNG FEDERAL BUILDING
400 WEST WASHINGTON STREET, SUITE 1100
ORLANDO, FL 32801

       The parties identified below were served on November 28, 2018 by U.S. Mail.

CARL EDWARD MORELLI
1014 BANKS ROSE STREET
KISSIMMEE, FL 34747

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                                                  Attorney for the Movant

                                                  By: /s/ Alejandro Martinez-Maldonado
                                                  Alejandro Martinez-Maldonado
                                                  FL BAR # 108112
